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                            IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                           )    CASE NO. 1:05 CR 327-1
                                                    )
                        Plaintiff,                  )    JUDGE JOHN M. MANOS
                                                    )
        v.                                          )    MAGISTRATE JUDGE
                                                    )    WILLIAM H. BAUGHMAN, JR.
JOSE LUIS RODRIGUEZ,                                )
                                                    )
                        Defendant.                  )    REPORT & RECOMMENDATION


        Pursuant to General order 99-49, this matter having been referred to United States Magistrate

Judge William H. Baughman, Jr. for purposes of receiving, on consent of the parties, the defendant’s offer

of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be accepted

and a finding of guilty entered, the following, along with the transcript or other record of the proceedings

submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation concerning the plea

of guilty proffered by the defendant.

        1.      On December 9, 2005, accompanied by counsel, proffered a plea of guilty.

        2.      Prior to such proffer, the defendant was examined as to his/her competency, advised of

                the charge and consequences of conviction, informed that the Court will be required to give

                consideration to the Federal Sentencing Guidelines and of the possibility of a departure

                from the Guidelines, notified of his/her rights, advised that he/she was waiving all his/her

                rights except the right to counsel, and, if such were the case, his/her right to appeal, and

                otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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        3.      The parties and counsel informed the Court about any plea agreement between the parties,

                the undersigned was advised that, aside from such agreement as described or submitted

                to the Court, no other commitments or promises have been made by any party, and no

                other agreements, written or unwritten, have been made between the parties.

        4.      The undersigned questioned the defendant under oath about the knowing, intelligent, and

                voluntary nature of the plea of guilty, and finds that the defendant’s plea was offered

                knowingly, intelligently, and voluntarily.

        5.      The parties provided the undersigned with sufficient information about the charged

                offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the United

States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned recommends

that the plea of guilty be accepted and a finding of guilty be entered by the Court.


Dated: December 9, 2005                                      s/ William H. Baughman, Jr.
                                                             United States Magistrate Judge


                                                Objections

        Any objections to this Report and Recommendation must be filed with the Clerk of Courts within
ten (10) days of receipt of this notice. Failure to file objections within the specified time waives the right
to appeal the District Court’s order.1




        1
         See United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn,
474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).

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